                 Case 1:11-cr-00275-LJO Document 78 Filed 06/07/13 Page 1 of 2



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 HENRY Z. CARBAJAL III
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for the
   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:11-cr-00275 LJO
12                                Plaintiff,               STIPULATION TO RETURN SEIZED
                                                           PROPERTY; ORDER
13   v.
14   YADWINDER SINGH,                                      JUDGE: Hon. Lawrence J. O’Neill
15                                Defendant,
16

17                                             STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through his counsel of record, hereby stipulate as follows:
20
            1.      On or about January 26, 2011, pursuant to a search warrant, agents for the
21
     Department of Homeland Security seized, among other items, 42 pieces of jewelry from the home of
22

23 defendant Yadwinder Singh.

24          2.      On or about August 20, 2012, Yadwinder Singh pleaded guilty to conspiracy to

25 unlawfully produce and transfer identification documents. Mr. Singh was sentenced on December
26 10, 2012.

27
            3.      A forfeiture money judgment was imposed against Mr. Singh in the amount of
28
                                                       1
29

30
                                   Case 1:11-cr-00275-LJO Document 78 Filed 06/07/13 Page 2 of 2


     $64,000.
 1
                              4.      Counsel for the defendant represents that the 42 pieces of jewelry seized on January
 2

 3 26, 2011 are not related to the crime for which the defendant was convicted.

 4                            5.      The forfeiture unit of the Department of Homeland Security will not release the
 5 jewelry without a court order permitting them to do so.

 6
                              6.      Therefore, the parties agree to the return of the 42 pieces of jewelry to the custody of
 7
     the defendant’s counsel, Eric H. Schweitzer, for ultimate return to the spouse of Yadwinder Singh.
 8
                              IT IS SO STIPULATED.
 9

10
     DATED:                           June 6, 2013
11

12                                                           /s/ Henry Z. Carbajal III
                                                             HENRY Z. CARBAJAL III
13                                                           Assistant United States Attorney
14
     DATED:                           June 6, 2013
15

16                                                           /s/Eric H. Schweitzer
                                                             ERIC H. SCHWEITZER
17                                                           Counsel for Defendant
                                                             YADWINDER SINGH
18
                                                                    ORDER
19
20

21

22 IT IS SO ORDERED.

23                         Dated:     June 7, 2013                                  /s/ Gary S. Austin
                                                                         UNITED STATES MAGISTRATE JUDGE
24   DEAC_Signature-END:




25 6i0kij8d
26

27

28
                                                                          2
29

30
